 Case 1:25-cv-03530-ENV-RML                          Document 4           Filed 06/24/25        Page 1 of 1 PageID #: 22


AO 440 (Rev. 06112) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District of New York

             RIGOBERTO LOPEZ RAMIREZ,                             )
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                                                                                25 CV 3530 ENV-RML
                            Plaint/ff(s)
                                v.                                )       Civil Action No.
                                                                  )
      COLOMBO'S FRUIT MARKET CORP.;                               )
 COLOMBO'S FRUIT & VEGETABLE MARKET, INC.                         )
 dba COLOMBO'S FRUIT & VEGETABLE MARKET;                          )
   and MARTIN ARANDA FUENTES, individually,                       )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) COLOMBO'S FRUIT MARKET CORP.                     MARTIN ARANDA FUENTES
                                   7549 Metropolitan Avenue                         7549 Metropolitan Avenue
                                   Middle Village, New York 11379                   Middle Village, New York 11379
                                           COLOMBO'S FRUIT & VEGETABLE MARKET, INC.
                                           7549 Metropolitan Avenue
                                           Middle Village, New York 11379
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                 Cilenti & Cooper, PLLC
                                 60 East 42nd Street - 40th Floor
                                 New York, NY 10165



       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                             Brenna Mahoney

                                                                             CLERK OF COURT

           6/24/2025
Date:                                                                        s/
                                                                                        Signature ofClerk or Deputy Clerk
